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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA

SYNERGY RESTAURANT GROUP,                     )
LLC d/b/a RALLY’S,                            )
                                              )
                  Plaintiff,                  )
                                              )
        v.                                    )      Case No. 1:20-cv-00190
                                              )
NATIONWIDE MUTUAL INSURANCE                   )
COMPANY and ALLIED INSURANCE                  )
COMPANY OF AMERICA,                           )
                                              )
                  Defendants.                 )

                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that the defendants, Nationwide Mutual Insurance Company

and Allied Insurance Company of America (collectively, the “Defendants”), hereby remove the

state court action entitled Synergy Restaurant Group, LLC d/b/a Rally’s v. Nationwide Mutual

Insurance Company and Allied Insurance Company of America, Docket No. 02D01-2004-PL-

000146 (the “Action”), from the Superior Court of Allen County to this Court based upon

diversity of citizenship and an amount in controversy exceeding $75,000.            See 28 U.S.C.

§§ 1332, 1441, and 1446. The grounds for removal are as follows:

                                         I. PLEADINGS

        1.        This action arises from an insurance coverage dispute in which the plaintiff,

Synergy Restaurant Group, LLC d/b/a Rally’s (“Plaintiff”), alleges that Defendants failed to pay

the full amount of coverage owed to Plaintiff under an insurance policy.             See generally

Complaint, attached as Exhibit A (copy of complaint and summons served on Defendants’

registered agent). Specifically, Plaintiff is the operator of a Rally’s fast food restaurant located

in Fort Wayne that was damaged by a fire in June 2019, and Plaintiff alleged that Defendants

“failed to pay approximately one hundred and fifty-three thousand ($153,000) due under Policy
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coverages relating to damage from the fire.” Id., ¶ 1. Plaintiff also asserts a breach of contract

claim alleging Defendants violated duties of good faith and fear dealing regarding the handling

of the insurance claim and requests punitive damages. See id., ¶¶ 11-12.

        2.        Plaintiff served both Defendants on April 23, 2020 by certified mail on their

registered agent.

        3.        Each of the Defendants consents to the removal and are filing the notice of

removal jointly.

        4.        Defendants have not yet answered or otherwise responded to the Complaint.

                           II. REMOVAL IS PROPER IN THIS CASE

        5.        This is a civil action over which this Court has original jurisdiction pursuant to

28 U.S.C. § 1332.        The Action may be removed pursuant to 28 U.S.C. § 1441 because

(i) removal is timely, (ii) there is complete diversity of citizenship between the parties pursuant

to 28 U.S.C. § 1332(c)(1), (iii) the amount in controversy requirement set forth in 28 U.S.C.

§ 1332(a) is satisfied, and (iv) this Court is the proper venue.

A.      Removal Is Timely.

        6.        Removal is timely, pursuant to 28 U.S.C. § 1446(b), because Defendants were

served on April 23, 2020, and is filing this removal within 30 days of service. See Murphy Bros.,

Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) (holding that the 30-day clock for

removal does not begin to run until service is perfected).

B.      The Diversity of Citizenship Requirement is Satisfied.

        7.        The Complaint incorrectly alleges that Plaintiff is “an Indiana for profit

corporation with is headquarters located in Babylon, New York”. See Complaint, ¶ 2. Public

records from the Indiana Secretary of State’s office confirm that Plaintiff is a limited liability

company (LLC) organized under Indiana law, with its principle place of business in Babylon,

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New York. See Secretary of State Registration Information for Synergy Restaurant Group, LLC,

attached as Exhibit B. A limited liability company has the citizenship of each of its members.

Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1997). The sole member of Synergy

Restaurant Group, LLC, is Mr. Robert Ruggieri, a private individual residing in Babylon, New

York.      See Exhibit B (listing membership of LLC).         Based on these public records and

allegations in the Complaint, Plaintiff is a citizen of New York for diversity jurisdiction

purposes.

          8.      Nationwide Mutual Insurance Company is “a mutual insurance company licensed

to do business in the State of Indiana with its principal headquarters located in Columbus, Ohio.

See Complaint, ¶ 3. Nationwide Mutual Insurance Company is registered as a corporation in

Ohio and is therefore a citizen of Ohio for purposes of diversity jurisdiction. See 28 U.S.C.

§ 1441.

        9.        Allied Insurance Company of America is “an insurance company licensed to do

business in the State of Indiana with its headquarters located in Des Moines, Iowa.” Complaint,

¶ 4. Allied Insurance Company of America is therefore a citizen of Iowa for purposes of

diversity jurisdiction. See 28 U.S.C. § 1441.

          10.     Therefore, there is complete diversity between Plaintiff and Defendants.

C.        The Amount in Controversy Requirement is Satisfied.

          11.     Plaintiff alleges that is owed approximately $153,000 under the insurance policy

that it had with Defendants. See Complaint, ¶ 1.

          12.     As expressly reflected by the allegations in Complaint, the amount in controversy

in this case exceeds $75,000, exclusive of interest and costs. See 28 U.S.C. § 1332(a); NLFC,

Inc. v. Devcom Mid-America, Inc., 45 F.3d 231, 237 (7th Cir. 1995) (“Generally the amount in

controversy claimed by a plaintiff in good faith will be determinative on the issue of
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jurisdictional amount, unless it appears to a legal certainty that the claim is for less than that

required by the rule.”).

D.      Venue and Other Requirements Are Satisfied.

        13.       The Northern District of Indiana is the proper federal court venue for all

removable cases filed in Allen County, Indiana. Thus, this Court is the proper venue for the

Action pursuant to 28 U.S.C. § 1441(a).

        14.       Pursuant to 28 U.S.C. § 1446(d), Defendants are filing a written notice of this

removal (attached as Exhibit C) with the Clerk of the Superior Court of Allen County, Indiana,

which, along with this notice, is being served upon Plaintiff’s counsel as required by 28 U.S.C.

§ 1446(d).

        15.       Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon Defendants are attached as Exhibit A.

        For the foregoing reasons, federal jurisdiction exists under 28 U.S.C. § 1332(a), and

removal is appropriate under 28 U.S.C. § 1441(a).


                                              FAEGRE DRINKER BIDDLE & REATH LLP



Dated: May 8, 2020                            By: /s/ Eldin Hasic
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                                              of America




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                                CERTIFICATE OF SERVICE

        I certify that on May 8, 2020, I filed the foregoing Notice of Removal, which will give

notice to all parties and their counsel of record who have enrolled in the system. I also served a

copy of the foregoing via regular U.S. Mail upon:

                      Nathaniel O. Hubley, Esq.
                      John C. Theisen, Esq.
                      Theisen & Associates, LLC
                      810 South Calhoun Street, Suite 200
                      Fort Wayne, Indiana 46802



                                                     /s/ Eldin Hasic




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